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                                No. 23-2681

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE EIGHTH CIRCUIT

                            DYLAN BRANDT, et al.,
                                   Plaintiffs-Appellees,

                                      v.

                        TIM GRIFFIN, et al.,
                              Defendants-Appellants.
__________________________________________________________________

     Appeal from the United States District Court for the Eastern
  District of Arkansas, Hon. James M. Moody, Jr., No. 4:21-CV-00450


        BRIEF FOR THE STATES OF MISSOURI, IOWA,
     NEBRASKA, NORTH DAKOTA, AND SOUTH DAKOTA
         IN SUPPORT OF DEFENDANTS-APPELLANTS’
          PETITION FOR INITIAL HEARING EN BANC
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       STATEMENT OF INTEREST AND INTRODUCTION

     Missouri and four other States in the Eighth Circuit—Iowa,

Nebraska, North Dakota, and South Dakota—file this amicus brief as of

right under Rule 29(a)(2) in support of Arkansas’ petition for initial en

banc review because each Amici State has a law similar to Arkansas’, and

all these States have a strong interest in this Court speedily resolving

the critical questions involved. The Brandt decision is a national outlier

that adopts incorrect presumptions and fails to cite arguably the most

relevant precedent. And if interpreted the way plaintiffs and the district

court below interpreted it, the decision would impose a straitjacket

preventing States in the Eighth Circuit from regulating procedures that

Sweden has said cause more harms than benefits, Finland has described

as experimental, and European countries and dozens of States have

greatly restricted.

     This legal issue greatly affects the ability of States to respond to a

pressing need involving health and welfare of children. The Court should

not hesitate to fully resolve the issue en banc.




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                                ARGUMENT

        Brandt affects nearly all States in the Eighth Circuit, even States

like Missouri that so far have faced litigation only in state court. The

States have a strong interest in regulating procedures deemed by an

emerging international consensus to be too dangerous. And the Brandt

decision is both incorrect and an outlier nationally.

   I.      Brandt affects all States in the Eighth Circuit that have
           similar laws.

        Following significant restriction of gender transition interventions

by European countries, every State in the Eighth Circuit but one now has

a law regulating gender transition interventions.1 All these States would

clearly be able to enforce their laws if situated in the Sixth or Eleventh

Circuits, but back home the Brandt decision clouds the issue.

        This is true not only for States sued in federal district court, where

Eighth Circuit precedent is binding, but also States sued in their own

courts. Missouri, for example, was recently sued in state court solely

under the Missouri Constitution, yet the plaintiffs there relied heavily on

Brandt because the Missouri Constitution is coextensive with the U.S.


1 Mo. Rev. Stat § 191.1720; Iowa Code § 147.164; Neb. Rev. Stat. § 71-

7304; N.D. Cent. Code § 12.1-36.1; S.D. Codified Laws § 34-24-34.
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Constitution with respect to equal protection and due process, and

Missouri courts thus look to Eighth Circuit precedent as persuasive

authority. See Suggestions in Supp. of Mot. for Prelim. Inj., Noe v. Parson,

No. 23AC-CC04530, at 3, 26, 30, 32, 35–37, 41–43, 49, 56 (Cole Cnty.

2023) (citing Brandt by & through Brandt v. Rutledge, 47 F.4th 661 (8th

Cir. 2022)); see also Glossip v. Mo. Dep’t of Transp. & Highway Patrol

Emps. Ret. Sys., 411 S.W.3d 796, 805 (Mo. 2013) (“[T]he Missouri

Constitution’s equal protection clause is coextensive with the Fourteenth

Amendment.”); Doughty v. Dir. of Revenue, 387 S.W.3d 383, 387 (Mo.

2013) (describing the “due process protections of both our state and

national constitutions” as “coextensive”).

     Brandt in fact creates the destabilizing possibility of state courts

and federal courts in the same jurisdiction splitting on the same issue.

While plaintiffs here argue that the Brandt decision justifies preliminary

injunctive relief in federal court, just three weeks ago a state court in

Missouri, assessing the same legal issues, denied preliminary injunctive

relief, concluding that the plaintiffs “ha[ve] not shown probable success”

on the merits, “have not clearly shown a sufficient threat of irreparable

injury,” and have not rebutted arguments that “[t]he science and medical


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evidence is conflicting.” Order Denying Mot. for Prel. Inj., Noe v. Parson

(Aug. 25, 2023). Brandt creates the risk that a State could prevail if sued

in state court but lose if sued in federal district court.

   II.    States in the Eighth Circuit have a strong interest in
          obtaining clarity as quickly as possible in light of the
          emerging     national    consensus     against     these
          interventions.

      This issue requires prompt attention because it involves urgent

health and welfare concerns for children. In recent months and years,

several European countries—including Sweden, Finland, Norway, and

the United Kingdom—have greatly restricted the use of these

interventions after determining that there is not sufficient evidence to

prove safety or efficacy in light of the known and serious side effects. In

many of these countries, surgeries are prohibited entirely for minors, and

hormonal interventions are allowed only in formal research protocols

(which have not yet begun); they are not permitted in general medicine.

See, e.g., NHS England, Interim Service Specification 16 (2022) (stating

that, following rigorous reviews of the evidence, the National Health




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Service “will only commission [puberty blockers] in the context of a

formal research protocol”).2

     Sweden, for example, restricted the use of these interventions after

determining in early 2022 that “the risks of puberty suppressing

treatment with GnRH-analogues [puberty blockers] and gender-

affirming hormonal treatment currently outweigh the possible benefits.”

Care of Children and Adolescents with Gender Dysphoria: Summary,

Socialstyrelsen: The National Board of Health and Welfare 3 (Feb. 2022)

(quoted in Joseph Elkadi, et al., Developmental Pathway Choices of

Young People Presenting to a Gender Service with Gender Distress: A

Prospective Follow-Up Study, Children (Basel, Switzerland) vol. 10(2)

314 (Feb. 2023)).3 The U.S. Agency for Healthcare Research and Quality

similarly agreed two years ago that these interventions lack evidentiary

support: “There is a lack of current evidence-based guidance for the care

of children and adolescents who identify as transgender, particularly

regarding the benefits and harms of pubertal suppression, medical

affirmation with hormone therapy, and surgical affirmation.” Topic Brief:



2 https://perma.cc/N3CY-JYNY
3 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9955757


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Treatments for Gender Dysphoria in Transgender Youth, AHRQ, Nom.

No. 0928, at 2 (2021).4

     When comparing the speculative benefits of these interventions

with their known risks—e.g., infertility, interference with normal brain

development, increased rates of cardiovascular disease and cancer, and

decreased life expectancy—it is entirely reasonable for health regulators

to follow the emerging international consensus and restrict the use of

these interventions. The Brandt decision, interpreted the way the district

court did and plaintiffs do, threatens the ability of States to exercise one

of their most fundamentally important sovereign functions.

     That sovereign function is needed now more than ever because

States have seen the number of individuals seeking these interventions

skyrocket in just the past five years. Reuters reports that the number of

individuals seeking these interventions tripled between 2017 and 2021.

Respaut & Terhune, Putting Numbers on the Rise in Children Seeking




4 https://effectivehealthcare.ahrq.gov/system/files/docs/topic-brief-

gender-dysphoria.pdf
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Gender Care, Reuters (Oct. 6, 2022).5 The numbers have increased even

more since 2021.

   III. Brandt is a national outlier and should be speedily
        corrected.

        As Arkansas notes, every federal court of appeals to consider the

issue after Brandt has rejected its reasoning. For good reason. As Brandt

was the first federal court of appeals decision to be released on this issue,

Brandt did not have the benefit of the arguments that have percolated in

the past year. Brandt thus makes several fundamental errors that this

Court should speedily correct. This filing briefly touches on two errors.

        First, the decision misunderstood how these statutes operate.

Brandt applied heightened scrutiny to the Arkansas statute on the

theory that, under the statute, “[a] minor born as a male may be

prescribed testosterone … but a minor born as a female is not permitted

to seek the same treatment.” Brandt, 47 F.4th at 669. This premise is

fundamentally flawed. These statutes in fact do not prohibit females from

receiving testosterone while allowing the same for males. Both female

and male patients naturally have both testosterone and estrogen (though


5 https://www.reuters.com/investigates/special-report/usa-transyouth-

data/
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in substantially different levels). These laws do not prohibit female (or

male) patients from receiving testosterone to fix, for example, a gland

problem. So it is not true that a “minor born male may be prescribed

testosterone . . . but a minor born female is not permitted to seek the

same treatment.” Id.

     Rather, these laws simply restrict one specific procedure: gender

transition. And they restrict that procedure regardless of sex and

regardless of whatever device or method a physician may choose to use.

Missouri, for example, restricts using “testosterone, estrogen, or other

androgens” administered “for the purpose of a gender transition.” Mo.

Rev. Stat. §§ 191.1720.2(2), 191.1720.4 (emphasis added). And Arkansas’

law states that a “physician or other healthcare professional shall not

provide gender transition procedures” to minors and defines “gender

transition procedure” to include “any medical or surgical service … that

seeks to” cause gender transition. Ark. Code §§ 20-9-1502(a), 20-9-

1501(6) (emphasis added). In other words, under these laws both males

and females can still receive testosterone or estrogen for a whole variety

of medical purposes, but no male or female is allowed to receive any




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hormone for the purpose of gender transition. The same procedure is

regulated the same way for both male and female patients.

     These laws thus plainly classify based solely on procedure, not sex,

and are thus subject only to rational basis review because they treat

similarly situated male and female patients alike, as every other federal

court of appeals to address the issue has concluded. Eknes-Tucker v. Gov.

of Alabama, No. 22-11707, 2023 WL 5344981, at *15 (11th Cir. Aug. 21,

2023); L. W. v. Skrmetti, 73 F.4th 408, 419, 421 (6th Cir. 2023). Indeed,

the logic of Brandt (as interpreted by plaintiffs and the district court)

does “not equalize burdens or benefits between girls and boys”; it merely

“force[s] [States] to either ban puberty blockers and hormones for all

purposes or allow them for all purposes.” Eknes-Tucker, 2023 WL

5344981, at *20 (Brasher, J., concurring) (emphasis in original).

     Second, Brandt overlooked binding Supreme Court precedent. As

every other court of appeals to address these issues has determined, the

Supreme Court’s decision in Dobbs v. Jackson Women’s Health

Organization, 142 S. Ct. 2228 (2022), compels the conclusion that even if

these statutes did treat male and female patients differently (because

male and female patients have different natural hormone levels), that


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would not raise concerns about equal protection because “‘[t]he

regulation of a medical procedure that only one sex can undergo does not

trigger heightened constitutional scrutiny.’” Eknes-Tucker, 2023 WL

5344981, at *17 (quoting Dobbs, 142 S. Ct. at 2245–46); L. W., 73 F.4th

at 419 (same). Unlike the Sixth and Eleventh Circuits, Brandt did not

cite Dobbs, presumably because Dobbs was issued just days after oral

argument in Brandt, so the Court may not have been aware of Dobbs’

relevance.

     The Court should waste no time in speedily correcting these flaws

and bringing the Eighth Circuit into alignment with every other federal

court of appeals to have addressed this issue.




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                              CONCLUSION

     Amici States are actively addressing one of the most important

issues affecting the health and welfare of children today. The States urge

this Court to grant initial hearing en banc to speedily resolve this

incredibly important issue.



September 14, 2023                     Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     The undersigned hereby certifies that Appellants’ Brief complies

with the typeface and formatting requirements of Fed. R. App. P. 29 and

32, in that it is written in Century Schoolbook 14-point font, and that it

contains 1,798 words as determined by the word-count feature of

Microsoft Word, excluding the parts of the brief exempted by Fed. R. App.

P. 32(a)(7)(B)(iii). The hard copies submitted to the clerk are exact copies

of the CM/ECF submission.

                                            /s/ Joshua M. Divine
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                      CERTIFICATE OF SERVICE

     I certify that a true and correct copy of the foregoing document was

electronically filed on September 14, 2023, with the Clerk of Court for the

United States Court of Appeals for the Eighth Circuit using the CM/ECF

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